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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION

   ALEXANDRA DAVIS,
       Plaintiff,

   vs.                                                 CIVIL ACTION No. 5:23-cv-00032-RWS

   JERRAL W. JONES, DALLAS COWBOYS                                  JURY TRIAL DEMANDED
   FOOTBALL CLUB, LTD., JAMES
   WILKINSON, TRAILRUNNER                                       ORAL HEARING REQUESTED
   INTERNATIONAL, LLC, and DONALD
   JACK, JR.
         Defendants.



          DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED
                      COMPLAINT AND BRIEF IN SUPPORT


                                              Respectfully submitted by:

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       Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendants Jerral W.

Jones, Dallas Cowboys Football Club, Ltd., James Wilkinson, TrailRunner International, LLC,

and Donald Jack, Jr. move to dismiss Plaintiff Alexandra Davis’ First Amended Complaint for

failure to state a claim, and respectfully show:

                                           I.       SUMMARY

       Plaintiff’s demands for money and the “communications” she relies upon in her Amended

Complaint doom her defamation claims, which cannot survive dismissal in any event because she

wholly fails to allege facts sufficient to plead actual malice. Indeed, Plaintiff could never plausibly

allege any Defendant subjectively believed comments about Plaintiff wanting money were false

because Plaintiff repeatedly sent messages to Defendant Jones (through Defendant Jack), like the

following asking for a portion of Jones’s wealth:




       As this Court concluded in granting Defendants’ Motion to Dismiss Plaintiff’s Original

Complaint, Plaintiff demanded money from Jones in 2017: “[I]t has been established that Plaintiff

did ask for money in the [November 2017] Letter she gave to Jack.”1 Now, only one claim remains

regarding a March 31, 2022 ESPN article (the “Second ESPN Article”). This claim was nearly

dismissed with prejudice; indeed, the Court “struggle[d] to find” that any statement in the Second

ESPN Article was “substantially false or defamatory.”2 Nonetheless, because Plaintiff alleged that

the 2017 Letter was a one-off “plea by a shunned daughter,”3 the Court credited these allegations

and reasoned that the gist of the Second ESPN Article—that “Plaintiff is someone who continues



       1
         Dkt. 50 at 28 (emphasis added). All cites are to ECF page numbers, unless stated otherwise.
       2
         Dkt. 50 at 28.
       3
         See, e.g., Dkt. 1 at 44.


                                                       1
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to ask Defendants for money”—could paint a defamatory picture.4 This led the Court to consider

whether Plaintiff was a limited-purpose public figure and, after concluding that she was, allowed

Plaintiff to replead “actual malice,” a necessary element of a public figure libel case.5

         To do so, Plaintiff now alleges that “communications between [Plaintiff] and Jones” in

Defendants’ possession prove that Defendants knew that Plaintiff never asked for money after

2017.6 But those years-worth of Plaintiff’s communications to Jones’s lawyer (Jack)––which

Plaintiff alleges are central to the essential element of “actual malice”––are attached hereto and

show precisely the opposite. These communications indisputably demonstrate that the 2017 Letter

was not an isolated event; rather, Plaintiff continued to demand money year after year. Thus, far

from showing actual malice, the communications demonstrate that the statements in Second ESPN

Article were true and that Defendants could not have made such statements knowledge of falsity

or serious doubt about the truth. For these reasons alone, Plaintiff’s Amended Complaint should

be dismissed.

         For similar reasons, Plaintiff’s Amended Complaint also should be dismissed because

Plaintiff fails to establish that any complained-of statement is materially false. To the contrary,

Plaintiff’s numerous communications—which are referenced in her Amended Complaint and

properly considered here—show Plaintiff repeatedly demanding money from Jones in 2017, 2018,

2019, 2020, and 2021. Finally, Plaintiff’s claim is also subject to dismissal because the

complained-of statements concern the speakers’ (Wilkinson’s and Jack’s) subjective impression




         4
          Dkt. 50 at 27–30.
         5
          Dkt. 50 at 31–34.
        6
          See, e.g., Amended Compl. at ¶ 73(n) (“[Defendants] had copies of all communications between Davis
and Defendant Jones . . . . Nowhere in those communications . . . does it state Plaintiff was seeking any money at
all.”).

                                                          2
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of Plaintiff’s motives in light of the undisputed facts, and thus constitute nonactionable opinions.

For this independent reason as well, Plaintiff’s claims should be dismissed with prejudice.

                                       II.      UNDISPUTED FACTS

         Plaintiff characterizes the complained-of statements in the Second ESPN Article as false

and defamatory because they “suggest Plaintiff is someone who continues to ask Defendants for

money.”7 The Court admittedly “struggle[d]” to see how these statements were substantially false

or defamatory. Nonetheless, by taking Plaintiff at her word at the Rule 12 stage, the Court noted

that such statements “could paint a defamatory picture” based on Plaintiff’s allegation that she

never demanded money from Jones after November 2017.8

         But Plaintiff’s allegation that her monetary demands thereafter ceased should be withdrawn

(and cannot ward off dismissal) because it is demonstrably false: Plaintiff sent no fewer than eleven

letters and text messages to Jones, through Jack, over a five-year period leading up to her initiation

of litigation against Jones.9 As detailed below, those communications may be considered at the

motion-to-dismiss stage 10

         In truth, the 2017 Letter was merely Plaintiff’s opening salvo in a consistent, years-long

campaign by Plaintiff to be paid substantial additional money by Jones.11 For example, on

September 27, 2018––nearly one year after the 2017 Letter––Plaintiff sought another dinner with

Jones’s lawyer, Jack, to “revisit” the 2017 conversation in which she requested money:12




         7
            Dkt. 50 at 29.
         8
             Dkt. 50 at 28; see id. at 30 (“Taking Plaintiff’s allegations as true, and considering the evidence from
Defendants that are central to her claims, Plaintiff asked for money in 2017, but a $20 million demand was not made,
and such a demand was not made in 2021 when Plaintiff initiated the controversy by sending a letter seeking
cooperation in establishing parentage to Defendants’ counsel.”).
          9
            See Ex. 2A.
          10
             See infra Part IV.A; see also Dkt. 50 at 5–6.
          11
             A true and correct copy of the Letter is attached hereto as Exhibit 1A. The Court previously held (and
Plaintiff admitted) the Letter may be considered at the motion-to dismiss stage. See Dkt. 50 at 6; Dkt. 42 at 52:12–24.
          12
             Ex. 2A, App. 007.

                                                          3
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        The next month, on October 19, 2018, Plaintiff specified in great detail her monetary

expectations for the meeting: she wanted Jack, on Jones’s behalf, “to talk to [her] about” her

November 2017 demand she “asked for last year;” she was “expecting” Jack to come to the

meeting “with an offer that [Jones] is willing to do;” she needed the meeting “to be a response

about what [she] said last year;” she reiterated that “[w]hat I am asking is for my rightful position

from a portion of [Jones’s] wealth;” and, finally, she instructed Jack to “[p]lease come ready:”13




In short, Plaintiff made an unmistakable demand for “a portion” of Jones’s “wealth” that she had

earlier quantified at $5 billion in the 2017 Letter.14

        Plaintiff persisted shortly thereafter on December 20, 2018 by questioning Jack if he had

talked with Jones “about what I have asked for” and “when it is going to happen”:15




        13
           Id., App. 009.
        14
           See Ex. 1A, App. 003.
        15
           Ex. 2A, App. 011.

                                                   4
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Six months later, in June 2019, Plaintiff again instructed Jack to speak with Jones; she

acknowledged “he’s done a lot to help us, but I think he could do more like we’ve talked about”;

and she sought a “permanent” monetary resolution “once and for all”:16




The next month, on July 2, 2019, Plaintiff again asked to “settle what is going on about the money

I asked for from [Jones]” and stated that she “would really like to get this money thing figured

out” and that Jones was “more than capable” of alleviating her concerns:17




The repeated requests for money continued thereafter. On December 30, 2019, Plaintiff again

texted Jack about “getting us some [m]oney” and referred back to the 2017 Letter:18


       16
          Id., App. 012.
       17
          Id., App. 014.
       18
          Id., App. 017.

                                                5
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In November 2020, Plaintiff re-urged her requests for money that she had “been talking

about for the past couple of years”:19




And two months later, in January 2021, Plaintiff once again raised “the letter I wrote to

[Jones] that I gave to you”:20




And less than two months later, in March 2021, Plaintiff continued to press the monetary

discussion:21




         Approximately ten months later, Plaintiff’s counsel sent an email to Jones’s counsel

regarding a “sensitive and personal” matter, wherein he attached a demand letter addressed to

Jones.22 In the letter, Plaintiff’s counsel “offer[ed] to make a deal [with Jones] to ‘participate in

genetic determination’ to keep the dispute confidential.”23 Notably, the letter neither disclaimed



         19
            Id., App. 019.
         20
            Id., App. 021.
         21
            Id., App. 023.
         22
            Amended Compl. at ¶ 25. Although the Amended Complaint references the letter and refers to it as being
attached as Exhibit 1, see id. at ¶ 26, it appears Plaintiff forgot to attach the letter. Defendants have attached a true and
correct copy of the letter to this motion at Exhibit 12.
         23
            Dkt. 50 at 18.

                                                             6
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Plaintiff’s previous demands for money (including those cited above), nor affirmatively renounced

any interest in money.24

         Plaintiff’s counsel then followed up with Jones’s counsel and sent “a copy of the lawsuit

that Plaintiff intended to file if [Jones] would not agree that Plaintiff was not bound by the

Settlement Documents.”25 And when that additional demand also went unanswered, Plaintiff, on

March 3, 2022, filed her first state court lawsuit against Jones explicitly seeking to affirm her right

to receive future payments from Jones under their settlement agreement and to recover attorneys’

fees (the “First Davis Lawsuit”).26 Plaintiff’s public suit also breached her confidentiality

obligations and sought relief that the Settlement Agreement had explicitly barred. Jones’s lawyers

countered the First Davis Lawsuit by filing a plea to the jurisdiction (the “Plea”).27 Shortly

thereafter, before the Plea was ruled upon, Plaintiff voluntarily dismissed the First Davis

Lawsuit.28

         During the First Davis Lawsuit, a series of articles concerning the dispute were published

by an ESPN reporter on March 30, 2022 and March 31, 2022 (the “First ESPN Article” and the

“Second ESPN Article,” respectively).29

         After Plaintiff dismissed the First Davis Lawsuit, she immediately filed a second public

suit against Jones in Dallas County Family District Court seeking to “adjudicate parentage” and

recover, among other relief, “attorneys’ fees” (the “Second Davis Lawsuit”).30 During those


         24
             See Ex. 12, App. 076.
         25
             Amended Compl. at ¶ 29.
          26
             See Ex. 3, App. 030 at ¶ 21 (requesting that the court prevent “the trusts from being terminated by
Defendant Jones,” which the Settlement Agreement provided Jones with a right to seek); id., App. 030 at ¶ 24
(“Plaintiff seeks a declaration that she is not bound by the confidentiality provisions of the Settlement Agreement . . .
with no legally adverse consequences including Defendant Jones’ ability to terminate the trusts.”); id., App. 031 at ¶
29 (seeking attorneys’ fees and costs of suit).
          27
             See Ex. 4, App. 035.
          28
             See Ex. 5, App. 046; Ex. 6, App. 051.
          29
             See Ex. 10, App. 071; Ex. 11, App. 073.
          30
             See Ex. 7, App. 053–55.

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proceedings, Jones moved for summary judgment supported by an attached affidavit by Jack

describing in detail the millions in payments he made to Plaintiff on Jones’s behalf over the years

and the Letter (the “Jack Affidavit”).31

        Around this same time, Jones’s daughter was in the process of divorcing her now ex-

husband, Shy Anderson.32 Given the timing, Plaintiff’s reference to the divorce in the First Davis

Lawsuit, the disclosure of the confidential Settlement Agreement, Plaintiff’s mother providing a

sworn videotaped statement, and Plaintiff’s initiation of litigation, Jones’s attorneys sent a

preservation letter to Mr. Anderson’s attorney citing an investigation into potential claims against

“[Mr. Anderson] and others for conversion (extortion) and other torts” and requesting that Mr.

Anderson preserve all communications with several people, including Plaintiff (the “Preservation

Letter”).33

        In March 2023, Plaintiff filed this lawsuit for defamation based on three written

publications (the Plea, the Jack Affidavit, and the Preservation Letter) and oral statements

attributed to Jack and Wilkinson in the First and Second ESPN Articles.34 On October 31, 2023,

the Court dismissed Plaintiff’s claims in their entirety and held that the Plea, the Jack Affidavit,

the Preservation Letter, and the First ESPN Article were not defamatory.35 Despite “struggl[ing]”

to do so, the Court found the statements in the Second ESPN Article could paint a defamatory

picture.36 But because Plaintiff—a limited-purpose public figure—failed to “sufficiently plead

actual malice,” the Court dismissed her claim and granted her leave to replead the requisite fault




        31
           See Ex. 9, App. 065.
        32
           Amended Compl. at ¶ 39.
        33
           See Ex. 8, App. 063–64.
        34
           See Dkt. 1.
        35
           See Dkt. 50.
        36
           Id. at 28–30.

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standard as to the statements in the article.37 On November 20, 2023, Plaintiff filed her Amended

Complaint.38

                                      III.     LEGAL STANDARD

       The Court’s previous Order granting Defendants’ motion to dismiss Plaintiff’s Original

Complaint set forth the applicable standard of review for Rule 12(b)(6) motions:

       Rule 12(b)(6) of the Federal Rules of Civil Procedure allows dismissal where a
       plaintiff fails “to state a claim upon which relief may be granted.” FED R. CIV. P.
       12(b)(6). For motions to dismiss under Rule 12(b)(6), a court must assume that all
       well-pleaded facts are true and view those facts in the light most favorable to the
       plaintiff. Bowlby v. City of Aberdeen, Miss., 681 F.3d 215, 219 (5th Cir. 2012).

                                                      ***

       The Court must then decide whether those facts state a claim that is plausible on its
       face. Bowlby, 681 F.3d at 219. The complaint need not contain detailed factual
       allegations, but plaintiff must plead sufficient factual allegations to show that they
       are plausibly entitled to relief. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555–
       570 (2007) [“Twombly”] (“[W]e do not require heightened fact pleading of
       specifics, but only enough facts to state a claim to relief that is plausible on its
       face.”); see also Ashcroft v. Iqbal, 556 U.S. 662, 677–79 (2009) [“Iqbal”]
       (discussing Twombly and applying Twombly generally to civil actions pleaded
       under Rule 8). “A claim has facial plausibility when the pleaded factual content
       allows the court to draw the reasonable inference that the defendant is liable for the
       misconduct alleged.” Iqbal, 556 U.S. at 673 (quoting Twombly, 550 U.S. at 556).39

Critically, as the Court further recognized, a court reviewing a Rule 12(b)(6) motion “may consider

the complaint, any documents attached to the complaint, and any documents attached to the motion

to dismiss that are central to the claim and referenced by the complaint.”40

                                             IV.    ARGUMENT

       Despite having been granted a child’s portion of a second bite at the apple, Plaintiff’s

Amended Complaint fares no better than her Original Complaint. Sifting through the single-spaced



       37
          Id. at 33–34.
       38
          Id. at 35; see Dkt. 52.
       39
          Dkt. 50 at 4–5.
       40
          Dkt. 50 at 4 (citing Lone Star Fund V (U.S.) L.P. v. Barclays Bank PLC, 594 F.3d 383, 387 (5th Cir. 2010)).

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morass of irrelevant allegations related to claims the Court already dismissed with prejudice,41

reveals a single (although asserted under both a statute and the common law) flimsy defamation

claim premised on two allegedly false and defamatory statements made only by Jack and

Wilkinson in the Second ESPN Article. For at least three reasons, this claim fails.

        First, Plaintiff fails to plausibly plead facts that any Defendant made any statement in the

Second ESPN Article with constitutional actual malice. Instead, Plaintiff’s allegations are replete

with legal conclusions, formulaic recitations, and actual malice buzzwords that are insufficient to

survive dismissal.42 Second, the supposed factual predicate on which Plaintiffs claim is based (i.e.,

that Plaintiff did not demand money from Jones after the November 2017 Letter) is conclusively

negated by Plaintiff’s own writings. Thus, a person of ordinary intelligence would perceive Jack’s

and Wilkinson’s statements (which themselves are non-actionable rhetoric, opinion, or hyperbole)

in the Second ESPN Article as not being materially false or defamatory. Third, the complained-of

statements merely relay Wilkinson’s subjective impression of Plaintiff’s motives (based upon

disclosed facts) and are nonactionable opinion.

        Because Plaintiff fails to state a claim for relief and the only remaining defamation claim

should be dismissed with prejudice.




        41
            Despite the Court’s Order that Plaintiff’s defamation claims based on the Plea, the Jack Affidavit, the
Preservation Letter, and the First ESPN Article were dismissed with prejudice, her Amended Complaint purports to
revive these claims. See, e.g., Amended Compl. at ¶¶ 68(a)–(d), ¶ 77(a)–(d) (asserting claim based, in part, on
statements made in the Plea, Preservation Letter, Jack Affidavit, and First ESPN Article). Defendants assume these
claims remain for appellate purposes only and are not being pursued contrary to the Court’s Order. Defendants
incorporate by reference and reassert the grounds for dismissal contained in their original motion to dismiss and
supporting appendix, Dkts. 12; 12-1–44, and add that “actual malice” is not plausibly shown. See Zamora-Orduna
Realty Grp., LLC v. BBVA USA, No. SA-20-CV-0579-FB, 2021 WL 4338955, at *1 (W.D. Tex. Mar. 31, 2021)
(permitting defendant to incorporate by reference into its motion to dismiss plaintiff’s amended complaint arguments
made in its motion to dismiss plaintiff’s original complaint).
         42
            See Dkt. 50 at 33–34.

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A.      Plaintiff relies upon her communications to Jones to allege falsity and actual malice,
        so those communications are central to her claim and properly considered here.

        Plaintiff’s remaining claim is based on her allegation that regardless of her 2017 demand,

such a demand was not made in 2022 when she sent her letter to Jones’s attorney.43 Thus, Plaintiff

alleges, the gist of the Second ESPN Article—that “Plaintiff is someone who continues to ask

Defendants for money”—is false and defamatory.44

        Specifically, Plaintiff relies on communication with Jones (including his agents) in her

attempts to allege the requisite “knowledge of falsity” for the actual malice element. She alleges

that Defendants “possessed all communications between [Plaintiff] and Jones”45 and that

“[n]owhere in those communications . . . does it state Plaintiff was seeking any money at all.”46

Plaintiff further alleges that Defendants “consciously and intentionally ignored” her

communications to falsely suggest she wanted money.47

        As this Court held, a court assessing a motion to dismiss may consider “any documents

attached to the motion to dismiss that are central to the claim and referenced in the complaint.”48

These pre-requisites are easily satisfied here. First, the communications are attached to this

motion.49 Second, they are central to Plaintiff’s defamation claim. Indeed, in Plaintiff’s futile

efforts to allege falsity and actual malice, she references and relies upon these communications in




        43
            See id. at 30.
        44
            See id. at 29.
         45
            Amended Compl. at ¶¶ 73(c), 82(c) (emphasis added).
         46
            Id. at ¶¶ 73(n), 82(n) (emphasis added).
         47
            Id. at ¶¶ 73(c), 82(c); see also id. at ¶¶ 73(n), 82(n).
         48
            Dkt. 50 at 6 (citing Lone Star, 594 F.3d at 387); see also Wealtr Invs., Inc. v. WMC REI LLC, No. 4:19-
CV-00111, 2019 WL 1984131, at *2 (E.D. Tex. Apr. 17, 2019), adopted by, 2019 WL 1983247 (E.D. Tex. May 3,
2019) (“[W]hen a plaintiff does not attach a pertinent document to the complaint and the document contradicts the
complaint, a defendant may introduce the exhibit as part of his motion attacking the pleading.”).
         49
            See Ex. 2A, App. 006–23.

                                                        11
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her Amended Complaint.50 As a result, the Court may properly consider those communications in

connection with this Motion.51

B.       Plaintiff fails to plausibly allege facts that Defendants published any complained-of
         statement in the Second ESPN Article with constitutional actual malice.

         The Court has already concluded that pleading and proving actual malice is an essential

element of a defamation claim involving a limited-purpose public figure, like Plaintiff.52 Actual

malice means “that the statement was made with knowledge of its falsity or with reckless disregard

for its truth.”53 “The ‘constitutional focus’ of [actual malice] is ‘on the defendant’s attitude toward

the truth, not his attitude towards the plaintiff.’”54 “In the wake of Iqbal and Twombly, adequately

pleading actual malice is an onerous task. And it is one that regularly results in early dismissal of

an action.”55 To survive a motion to dismiss, a plaintiff must “allege clear and specific evidence

of actual malice,”56 as opposed to conclusory assertions without “the existence or contents of

specific discussions, correspondence, or supporting documentation.”57

         Accordingly, Plaintiff was required to allege clear and specific facts showing that when

Jack and Wilkinson made the statements in the Second ESPN Article concerning Plaintiff’s




         50
             See Amended Compl. at ¶¶ 73(c), 73(n), 82(c), 82(n).
         51
             Lone Star, 594 F.3d at 387; see also Patton v. Fujitsu Tech. Sols., Inc., No. 3:02-CV-1848-G, 2002 WL
31498996, at *4 (N.D. Tex. Nov. 7, 2002) (holding that documents may be referred to “directly or by implication”);
see, e.g., Moore v. Cecil, 488 F. Supp. 3d 1144, 1150 (N.D. Ala. 2020) (finding that documents relating to plaintiff’s
efforts to prove actual malice were “central to his [defamation] claim” and thus considering said documents in
resolving motion to dismiss).
          52
             See Dkt. 50 at 12.
          53
             Id. at 12–13 (quoting Walker v. Beaumont Indep. Sch. Dist., 938 F.3d 724, 744 (5th Cir. 2019)); see also
St. Amant v. Thompson, 390 U.S. 727, 731 (1968) (a defendant has acted recklessly if “the defendant in fact entertained
serious doubts as to the truth of his publication” or acted “with a high degree of awareness of . . . probable falsity”).
          54
             Dkt. 50 at 12 (quoting Walker, 938 F.3d at 744).
          55
             See Pace v. Baker-White, 432 F. Supp. 3d 495, 513 (E.D. Pa. 2020) (collecting cases), aff’d, 850 F. App’x
827 (3d Cir. 2021).
          56
             Immanuel v. Cable News Network, Inc., 618 F. Supp. 3d 557, 566 (S.D. Tex. 2022) (citing Walker, 938
F.3d at 744).
          57
             Walker, 938 F.3d at 745.

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demands for money, they knew that Plaintiff had not demanded money. Plaintiff has not—and

cannot—come close to making this showing.

         1.       Plaintiff’s allegations are irreconcilable with her own statements.

         To begin with, Plaintiff’s allegations of actual malice are flatly refuted by her own written

communications, and thus may be disregarded.58 In an attempt to allege knowledge of falsity,

Plaintiff generally alleges that “[n]owhere in [her] communications . . . does it state Plaintiff was

seeking any money at all.”59 But Defendants’ alleged failure to investigate these

communications—which is all Plaintiff’s allegations of actual malice amount to—does not

“constitute[] actual malice” under federal Constitutional law.60 Her claims can be dismissed on

that basis alone.

         More importantly, Plaintiff’s communications actually refute her contention that she never

asked for money after November 2017. As extensively detailed in Part II above, those

communications show that in the years after the November 2017 Letter leading up to suing Jones,

Plaintiff repeatedly demanded money from Jones, including her demand for an alleged “rightful

position from a portion of [Jones’s] wealth.”61 Because the complained-of statements are

“consistent with information from other sources”—i.e., Plaintiff’s own messages—Plaintiff cannot

plausibly allege that “Defendants did not act with actual malice.”62

         2.       Plaintiff’s allegations are conclusory and otherwise legally inadequate.


         58
            See Martinez v. Reno, No. 3:97-CV-0813-P, 1997 WL 786250, at *2 (N.D. Tex. Dec. 15, 1997) (“Where
the allegations in the complaint are contradicted by facts established by documents attached as exhibits [or central]
to the complaint, the court may properly disregard the allegations.”); see, e.g., Sivertson v. Citibank, N.A. as Tr. for
Registered Holders of WAMU Asset-Back Certificates WAMU Series No. 2007-HE2 Tr., 390 F. Supp. 3d 769, 792
(E.D. Tex. 2019) (claim dismissed where plaintiff’s factual allegations were contradicted by a sworn affidavit that
was central to plaintiff’s claims and was included as an exhibit to defendant’s motion to dismiss).
         59
            Amended Compl. at ¶ 61; see also id. at ¶¶ 73(n), 82(n).
         60
            Walker, 938 F.3d at 744.
         61
            See Ex. 2A, App. 009.
         62
            Wheeler v. Twenty-First Century Fox, 322 F. Supp. 3d 445, 456 (S.D.N.Y. 2018); see also Immanuel, 618
F. Supp. 3d at 566 (holding plaintiff’s actual malice allegations were implausible where defendant, when making the
companied-of statements, “used so many of [plaintiff’s] own words”).

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        Apart from the reasons discussed above, Plaintiff’s claim also should be dismissed because

her allegations regarding actual malice are conclusory and provide no factual detail as to each

Defendant’s knowledge or mental state. Rather than attempt to satisfy her pleading burden,

Plaintiff merely recites that Defendants took various actions “with actual malice” or with “reckless

disregard for the truth.”63 But this Court already correctly observed that these formulaic recitations

and conclusory assertions are insufficient to pass scrutiny under Rule 12(b)(6).64 And Plaintiff

cannot salvage her deficient claim by further alleging that Defendants “should have” entertained

doubts as to the truth of the allegedly defamatory statements,65 acted with a bad motivation,66 acted

negligently,67 and pushed a “preconceived” story.68 These cursory allegation are equally

inadequate as a matter of settled law under the stringent New York Times standard.69

        3.       Plaintiff’s allegations shed no light on any individual Defendant’s state of mind
                 at the time the complained-of statements were published.

        Attempting to cobble facts supporting her allegations of actual malice, Plaintiff points to

various stray comments of Wilkinson and other TrailRunner employees—none are legally

sufficient. For instance, Plaintiff alleges Wilkinson’s knowledge of falsity by referencing

comments that have nothing to do with any underlying facts, much less that any factual statements

he is alleged to have made were somehow false.70 That Wilkinson allegedly told an ESPN reporter



        63
            See Amended Compl. at ¶¶ 36, 39, 41, 42, 44, 48, 49, 52, 56, 68, 69, 73, 77, 78, 82.
        64
            See Dkt. 50 at 33–34; see also Walker, 938 F.3d at 744–45.
         65
            Amended Compl. at ¶ 53; see also id. at ¶ 61 (“Defendants had enough facts such that they would and/or
should entertain serious doubts as the truth of Defendants Wilkinson, Jack, and Trailrunner’s [sic] statements.”).
         66
            See, e.g., id. at ¶ 82(j).
         67
            See, e.g., id. at ¶ 73(p).
         68
            See, e.g., id. at ¶ 73(b).
         69
            See Turner v. KTRK Television, Inc., 38 S.W.3d 103, 122 (Tex. 2000) (“[M]erely because an intelligent
speaker should have realized that a statement is inaccurate is not clear and convincing evidence of actual malice.”)
(citing Bose Corp. v. Consumers Union of U.S., Inc., 466 U.S. 485, 513 (1984)); Walker, 938 F.3d at 744; Frakes v.
Crete Carrier Corp., 579 F.3d 426, 432 (5th Cir. 2009) (negligence is “insufficient to support a finding of actual
malice”); Tah v. Glob. Witness Publ’g, Inc., 991 F.3d 231, 241 (D.C. Cir. 2021) (“‘[P]reconceived notions’ or
‘suspicion[s]’ usually do little to show actual malice”), cert. denied, 142 S. Ct. 427 (2021).
         70
            See Amended Compl. at ¶ 56.

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to “protect him,” or not quote him as a source, or that he allegedly said Jones gave him permission

to “fire missiles” in responding to Plaintiff’s prior press releases are not factual allegations

showing that Wilkinson’s statements were false, much less knowingly so.71 Plaintiff’s naked

assertion that these statements evidence knowledge of falsity is precisely the type of “unwarranted

deduction of fact” that cannot survive a motion to dismiss.72

        Equally unavailing are Plaintiff’s efforts to direct the Court to various post-publication

allegations about Wilkinson and other TrailRunner employees. Specifically, Plaintiff alleges that

when a TrailRunner employee “congratulated Wilkinson,” Wilkinson “responded for the

[employee] to cover his legal fees” and that this response shows Wilkinson “anticipated litigation

over his statements” and acted with actual malice.73 Plaintiff also alleges that TrailRunner

employees reached out to two other publishers to include allegedly defamatory statements in

articles written about Plaintiff and Jones.74

        But “[e]vidence concerning events after an article has been printed and distributed, has

little, if any bearing on” the existence of actual malice at the time of publication.75 Moreover, even

if post-publication evidence were relevant, and even if that statement (clearly said in jest) is taken

factually, the statement is true: Plaintiff is and was a very litigious person who, at the time

Wilkinson made the statement, had already sued Jones. That Wilkinson allegedly mentioned

litigation after the Second ESPN Article is agnostic as to his state of mind about the veracity of


        71
             Furthermore, the Second ESPN Article actually mentions Wilkinson and Jack by name, purports to quote
them, and then identifies them as named sources. See Ex. 11.
          72
             Musket Corp. v. Suncor Energy (U.S.A.) Mktg., Inc., 759 F. App’x 280, 286 (5th Cir. 2019).
          73
             Amended Compl. at ¶ 57.
          74
             Id. at ¶¶ 58–59.
          75
             Freedom Newspapers of Texas v. Cantu, 168 S.W.3d 847, 858 (Tex. 2005) (emphasis added); see, e.g.,
Forbes Inc. v. Granada Biosciences, Inc., 124 S.W.3d 167, 174 (Tex. 2003) (holding that conversations held after
publication of the complained-of article “cannot constitute evidence of actual malice at the time of publication”);
Berisha v. Lawson, 973 F.3d 1304, 1314 (11th Cir. 2020) (statements made by author of book “after he had done
substantial work” on the book did “nothing to show that [the author] began with an unfounded plan to take down [the
plaintiff]”).

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his alleged statements when he made them. And it falls far short of Plaintiff’s obligation to “allege

clear and specific evidence of actual malice.”76 Similarly, discussions by TrailRunner employees

with different publishers about different articles do not speak to Wilkinson’s state of mind as to

the truth at the time he made the complained-of statements in the Second ESPN Article, much less

show that he knew those statements were false or entertained serious doubt as to their truth.

         Once the conclusory allegations in the Amended Complaint are cast aside, nothing remains.

Accordingly, in the absence of any plausible factual allegations suggesting the contrary, there are

no facts from which to plausibly believe that, at the time Jack and Wilkinson made the statements

in the Second ESPN Article, they did so “with knowledge that [the statements] [were] false or with

reckless disregard of whether [the statements] [were] false or not.”77 This is especially true because

the Court has held the Jack Affidavit was true and the First ESPN Article was true or not actionable

as well. In fact, Plaintiff’s own correspondence underscores the truth (or substantial truth) of the

statements and the implausibility of her actual malice allegations. Because Plaintiff has failed to

“nudge[] [her] claims across the line from conceivable to plausible,” her Amended Complaint must

be dismissed with prejudice.78

C.       The complained-of statements are not actionable and are true or substantially true.

         Plaintiff did not clear the “famously daunting” Constitutional hurdle of pleading actual

malice and the Court may dismiss on these grounds alone.79 But even if she could, her claims




         76
             Walker, 938 F.3d at 744; see, e.g., Coleman v. Grand, 523 F. Supp. 3d 244, 261 (E.D.N.Y. 2021) (holding
that the fact that a publisher feared litigation arising from an article was not “clear and convincing evidence” that she
knowingly or recklessly made false statements, and noting it was equally plausible that the publisher “believed [the
plaintiff] might sue regardless of whether she spoke truthfully”).
          77
             New York Times Co. v. Sullivan, 376 U.S. 254, 279–80 (1964).
          78
             Twombly, 550 U.S. at 570; see, e.g., Corsi v. Infowars, LLC, No. A-20-CV-298-LY, 2021 WL 2115272,
at *1 (W.D. Tex. May 25, 2021) (granting a motion to dismiss when there were “no allegations that lead to a reasonable
inference that the Defendants acted with malice or a reckless disregard for the truth with regard to the” alleged
statements), adopted by, 2021 WL 4955914 (W.D. Tex. June 25, 2021).
          79
             Tah, 991 F.3d at 240.

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should still be dismissed because she cannot plausibly allege that the complained-of statements in

the Second ESPN Article are materially false. Simply put, the communications referenced in the

Amended Complaint (and central to Plaintiff’s claims) conclusively establish that the complained-

of statements are true (or substantially true) or otherwise not actionable.

       1.         Statements attributed to Jack

       Plaintiff’s allegations regarding Jack’s allegedly defamatory statements are baseless. Jack

is only quoted in the article regarding (1) the history of payments he made to Plaintiff and her

mother, on Jones’s behalf, and (2) his recollection of the dinner at which Plaintiff first read the

Letter. These were the same statements that Jack made in the affidavit that this Court already found

were “substantially true and not defamatory.”80 Because, Jack’s statements in the Second ESPN

Article are likewise substantially true and not defamatory as a matter of law, the claims against

Jack should be dismissed with prejudice.

       2.         Statements attributed to Wilkinson

       Plaintiff’s contentions regarding Wilkinson’s allegedly defamatory statements are still

difficult to follow. Plaintiff appears to still take issue with Wilkinson’s quoted statements that

“suggest Plaintiff is someone who continues to ask Defendants for money”:81

       This clearly demonstrates that money has always been the ultimate goal here[.] . . .
       And sadly this is just one part of a more broad calculated and concerted effort that
       has been going on for some time by multiple people with various different agendas.

                                                          ***

       The facts clearly show that millions of dollars have been paid, . . . and on top of
       that, a $20 million shakedown attempt was made. I think this speaks for itself as to
       the motives.

                                                          ***


       80
            Dkt. 50 at 23; see also Ex. 9, App. 065–70.
       81
            Dkt. 50 at 29.

                                                          17
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         Now they’ve changed their story yet again, . . . . First it wasn’t about money. Now
         it is about money. And now they are on three sides of a two-sided issue. They are
         all over the map here. Pick a story and stick with it. This is clownish.

         The Court previously “struggle[d]” to find that any of these statements are substantially

false or defamatory—and appropriately so.82 Indeed, as the Court already observed, Plaintiff

threatened to pursue public legal action against Jones if he did not respond to her January 2022

letter demanding genetic testing, demanded money in the 2017 Letter, and sought monetary relief

in her state court lawsuit.83 Additionally, Wilkinson’s comments about “chang[ing] stories” and

“clownish” behavior were responses to statements by Plaintiff’s lawyers, are not “of and

concerning Plaintiff,” and thus not actionable.84

         In a misguided effort to attach a defamatory meaning to these statements, Plaintiff now

attempts to draw a temporal distinction between her monetary motives in writing the 2017 Letter

and her supposed non-monetary motives in suing Jones and making numerous demands and claims

in 2022.85 In this context, Plaintiff essentially complains that Wilkinson allegedly omitted relevant

information, namely, that the “dinner meeting” at which she read the Letter to Jack “had been years

earlier and was not in any way related to the First [Davis] Lawsuit.”86

         But a statement is substantially true, and therefore not actionable, if the “gist” of the

“allegedly defamatory statement is not more damaging to the plaintiff’s reputation, in the mind of



         82
            Id. at 28.
         83
            Id. at 28–29.
         84
            See WFAA-TV, Inc. v. McLemore, 978 S.W.2d 568, 571 (Tex. 1998); see, e.g., Wyoming Corporate Servs.
v. CNBC, LLC, 32 F. Supp. 3d 1177, 1188 (D. Wyo. 2014) (plaintiff lacked standing to assert defamation claims based
on statements concerning other individuals); Dougherty v. Capitol Cities Commc’ns, Inc., 631 F. Supp. 1566, 1574
(E.D. Mich. 1986) (statements about an attorney and liquidator were not “of and concerning plaintiff” and thus were
not defamatory).
         85
            See, e.g., Amended Compl. at ¶ 68(n) (“Defendant Wilkinson knew that this ‘dinner meeting’ that Plaintiff
had with Defendant Jack had been years earlier and was not in any way related to the First or Second Lawsuit.”); id.
at ¶ 68(o) (same); id. at ¶ 68(p) (same); id. at ¶ 68(q) (same); id. at ¶ 68(t) (“Defendants use the ‘dinner meeting’ with
Defendant Jack that occurred years earlier to falsely convey the impression to the public that Plaintiff’s action of
seeking parentage was related to that ‘dinner meeting.’”); see also id. at ¶ 77(n).
         86
            Id. at ¶¶ 68(n)–(q); see also id. at ¶¶ 68(t)–(u).

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the average person, than the truthful statement.”87 Stated differently, a “statement is not considered

false unless it would have a different effect on the mind of the reader from that which the pleaded

truth would have produced.”88 Here, there is no daylight between the gist of Wilkinson’s alleged

statements (Plaintiff is someone who demands money from Jones) and the established truth.

         As recounted above, Plaintiff’s own communications with Jones, through Jack, show that

from November 2017 through 2021, Plaintiff continually demanded that Jones pay millions.89

Plaintiff’s counsel additionally sent a letter demanding that Jones submit to genetic testing (despite

the fact that she had released any alleged entitlement to such testing) and expressly mentioning the

possibility of going public with her allegations.90 When that demand went unanswered Plaintiff

filed the First Davis Lawsuit wherein she explicitly asked the court to affirm her right to receive

additional monetary payments from Jones under their settlement agreement and to also award her

attorneys’ fees from Jones.91 And it is undisputed, as the title of the Second ESPN Article provides,

that Jones “paid millions to [Plaintiff] who filed [a] paternity lawsuit.”92

         In addition to these communications, the Second ESPN Article also must be read in the

context of the series of publications about which Plaintiff complains: the Plea, the Jack Affidavit,

the Preservation Letter, and the First ESPN Article.93 As this Court already found, the statements

in these other publications are either not defamatory, opinion, or substantially (if not literally) true.



         87
            Green v. CBS Inc., 286 F.3d 281, 283 (5th Cir. 2002).
         88
            Masson v. New Yorker Magazine, Inc., 501 U.S. 496 (1991).
         89
            See supra Part II.
         90
            Amended Compl. at ¶¶ 18, 25; see also Ex. 12, App. 076.
         91
            See Ex. 3, App. 030 at ¶ 21 (requesting that the court prevent “the trusts from being terminated by
Defendant Jones”); id., App. 030 at ¶ 24 (“Plaintiff seeks a declaration that she is not bound by the confidentiality
provisions of the Settlement Agreement . . . with no legally adverse consequences including Defendant Jones’ ability
to terminate the trusts.”); id., App. 031 at ¶ 29 (seeking attorneys’ fees and costs of suit).
         92
            Ex. 11, App. 076.
         93
            See Scripps NP Operating, LLC v. Carter, 573 S.W.3d 781, 791 (Tex. 2019) (affirming district court’s
consideration of an “entire series of articles for the purpose of assessing their defamatory meaning” and holding that
a “proper assessment” of the allegedly defamatory material in the case could not be made “without looking at the
‘surrounding circumstances’ encapsulated in [the] series”).

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         Plaintiff attempts to parse Wilkinson’s statements with a fine-toothed comb and nitpick

minutiae in an effort to allege falsity. But, as the Supreme Court has held, “[m]inor inaccuracies

do not amount to falsity so long as the substance, the gist, the sting, of the libelous charge be

justified.”94 In fact, “[e]ven greatly exaggerated accounts are substantially true if no more

opprobrium would be attached to the plaintiff’s actions merely because of such exaggeration.”95

In Liberty Lobby, Inc. v. Anderson, 746 F.2d 1563 (D.C. Cir. 1984), vacated on other grounds,

477 U.S. 242 (1986), Justice (then Judge) Scalia provided an illustrative example of this point:

         If . . . an individual is said to have been convicted of 35 burglaries, when the correct
         number is 34, it is not likely that the statement is actionable. That is so, however, .
         . . because, since the essentially derogatory implication of the statement (“he is an
         habitual burglar”) is correct, he has not been libeled.96

         Here, the alleged “derogatory implication”—i.e., the gist—of Wilkinson’s statements is

that “Plaintiff is someone who continues to ask Defendants for money.”97 But, as five-years-worth

of Plaintiff’s own correspondence shows, that implication is indisputably true. And while Plaintiff

can quibble over certain minor omissions (e.g., the lapse of time between the Letter and the First

Davis Lawsuit) and allege that she never specifically demanded $20 million (but did in fact ask

for money),98 such facts—even if true—do not render Wilkinson’s statements materially false.99

         Thus, the gist of Wilkinson’s statements regarding Plaintiff’s continued demands for

money are substantially—if not literally—true based upon Plaintiff’s own words from

communications referenced in the Amended Complaint.



         94
             Masson, 501 U.S. at 517.
         95
             Walker, 938 F.3d at 746 (quotation and alteration omitted).
          96
             Liberty Lobby, 746 F.2d at 1568–69 n.6.
          97
             Dkt. 50 at 29.
          98
             See, e.g., Amended Compl. at ¶ 48.
          99
             See, e.g., Green, 286 F.3d at 285 (finding broadcast’s failure to include relevant information was not
defamatory, while noting that “[a]lthough the inclusion of more facts may have resulted in a more balanced broadcast,
the broadcast as a whole did not misrepresent” the gist of the story and thus “whether or not the story painted [plaintiff]
in an attractive light is irrelevant”).

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D.       The complained-of statements are protected opinion.

         Alternatively, Plaintiff’s claims should be dismissed because the complained-of statements

merely constitute Wilkinson’s opinions regarding Plaintiff’s motives. An opinion is

constitutionally-protected speech.100 “Whether an alleged defamatory statement constitutes an

opinion rather than a verifiable falsity is a question of law.”101 To answer this question, the

publication is viewed from “the perspective of a reasonable person[]” who reads the publication

in its “entirety” and is “aware of relevant contemporary events.”102 “[S]tatements that are

verifiably false are not legally defamatory if the context of those statements discloses that they

reflect an opinion.”103

         Here, Wilkinson’s complained-of statements concern Plaintiff’s monetary motivations.

Specifically, the Court previously focused on Wilkinson’s statement that “[t]he facts clearly show

that millions of dollars have been paid . . . and on top of that, a $20 million shakedown attempt

was made. I think this speaks for itself as to the motives.”104 A reasonable person reading this

statement would be well-acquainted with the dispute between Plaintiff and Jones, including the

dueling allegations covered by myriad media outlets after she publicly filed her lawsuit. And the

article itself places the dinner meeting and the $20 million demand in the context of occurring

“several years ago,” and Wilkinson is expressly quoted as saying “three or four years ago.”105 The

alleged falsity Plaintiff’s counsel focused on in the article itself was the money: “let’s see the




         100
             See Lilith Fund for Reprod. Equity v. Dickson, 662 S.W.3d 355, 363 (Tex. 2023).
         101
             Id.
         102
             Id.
         103
             Id.
         104
              Dkt. 50 at 29. Additionally, Wilkinson’s use of the word “shakedown” is nonactionable rhetoric and
hyperbole. See, e.g., McNamee v. Clemens, 762 F. Supp. 2d 584, 603-04 (E.D.N.Y. 2011) (holding that statements
that plaintiff wanted to shake down the defendant “sound in opinion not fact,” “are hyperbolic,” and “are ‘loose’
statements that don’t reasonably convey the specificity that would suggest that [defendant] or his agents were seriously
accusing [plaintiff] of committing the crime of extortion”).
         105
             Ex. 11, App. 073.

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evidence that more money was paid beyond those agreements,” which is now undisputed.106 Thus,

any contrived dispute over the labelling of Plaintiff’s motives is nonactionable as a matter of law.

         A reasonable person also would be aware of the context in which Wilkinson’s statements

were made. Specifically, the First ESPN Article was “prompted” by a “428-word statement”

Plaintiff’s attorneys sent to ESPN in which they “insisted that [Plaintiff] is not motivated by

money.”107 This article, as the Court recognized, “[told] [Plaintiff’s] side of the story.”108 The

Second ESPN Article was published the next day and included responses from Jones’s agents

about their impressions of Plaintiff’s motivations that rebutted Plaintiff’s “side of the story”

conveyed in the First ESPN Article.109 Thus, a reasonable person would read Wilkinson’s

statements in the Second ESPN Article as responding to the statements of Plaintiff’s lawyers in

the First ESPN Article. Even the titles of the articles underscore their point/counter-point nature:

“Lawyers for woman who says Dallas Cowboys owner Jerry Jones is her biological father deny

‘conspiracy,’”110 and “Dallas Cowboys owner Jerry Jones paid millions to woman who filed

paternity lawsuit, lawyer [Jack] says.”111

         In this context, considering Wilkinson’s statements as a whole from the perspective of a

reasonable person, his statements regarding what “[he] [thought]” Plaintiff’s motivations were are

precisely the type of non-defamatory opinions one would expect in the midst of, what Plaintiff

admits was, “continuing and contentious litigation.”112 This “subjective assertion” regarding




         106
             Ex. 11, App. 073.
         107
             Dkt. 50 at 26–27; Ex. 10, App. 071.
         108
             Dkt. 50 at 27.
         109
             Ex. 11, App. 073–75.
         110
             Ex. 10, App. 071 (emphasis added).
         111
             Ex. 11, App. 073 (emphasis added).
         112
             Amended Compl. at ¶ 54; see Dallas Morning News, Inc. v. Tatum, 554 S.W.3d 614, 639–40 (Tex. 2018)
(finding statements made in article that used the “first-person, informal style [e.g., “I think”] indicates that the format
is subjective rather than objective” and thus that “the statement is an opinion”).

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Plaintiff’s motives “cannot be verified” and is thus nonactionable, constitutionally protected

opinion.113

                                            V.        CONCLUSION

         In light of the foregoing, Defendants respectfully request that the Court grant this motion,

dismiss Plaintiff’s remaining claims with prejudice, and award such other and further relief, at law

or in equity, to which Defendants may be justly entitled.




         113
             Milkovich v. Lorain J. Co., 497 U.S. 1, 22 (1990); Tatum, 554 S.W.3d at 639; see also Immuno v. Moor-
Jankowski, 497 U.S. 1021 (1990) (“Speculations as to the motivations . . . are not readily verifiable, and are therefore
intrinsically unsuited as a foundation for libel.”); Newspaper Holdings, Inc. v. Crazy Hotel Assisted Living, Ltd., 416
S.W.3d 71, 87 (Tex. App.—Houston [1st Dist.] 2013, pet. denied) (holding that “a statement speculating about [a
party’s] motive for its decision [to end its business relationship with another party] is not defamatory as a matter of
law”); Price v. Viking Penguin, Inc., 881 F.2d 1426, 1438 (8th Cir. 1989) (a “qualitative judgment about [another’s]
motivation” was “unverifiable” and thus an opinion).




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                                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        On December 8, 2023, I electronically submitted the foregoing document with the clerk of
the court of the U.S. District Court, Eastern District of Texas, using the electronic case filing
system of the court. I hereby certify that I will serve all counsel and/or pro se parties of record
electronically or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).


                                                     /s/ Charles L. Babcock
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